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     1                   UNITED STATES DISTRICT COURT

     2                        DISTRICT OF MAINE

     3     ____________________________

     4     UNITED STATES OF AMERICA,                  CRIMINAL ACTION

     5                   Plaintiff               Docket No:       2:15-127-JDL

     6

     7            -versus-

     8

     9     TODD RASBERRY,

   10                 Defendant
           ____________________________
   11
                              Transcript of Proceedings
   12

   13      Pursuant to notice, the above-entitled matter came on
           for Sentencing held before THE HONORABLE JON D. LEVY,
   14      United States District Court Judge, in the United
           States District Court, Edward T. Gignoux Courthouse,
   15      156 Federal Street, Portland, Maine, on the 2nd day of
           December 2016 at 10:12 a.m. as follows:
   16

   17      Appearances:

   18      For the Government:        Jamie R. Guerrette, Esquire
                                      Assistant United States Attorney
   19
           For the Defendant:        William Maselli, Esquire
   20
           Also Present:      Dee Mosley, U.S. Probation
   21

   22                       Lori D. Dunbar, RMR, CRR
                            Official Court Reporter
   23
                         (Prepared from manual stenography and
   24                        computer aided transcription)

   25
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     1                   (Open court.      Defendant present.)

     2                THE COURT:      Good morning.

     3                MR. GUERRETTE:       Good morning, Your Honor.

     4                MR. MASELLI:       Good morning, Your Honor.

     5                THE COURT:      We proceed now in the case of

     6     United States versus Todd Rasberry.             This is Docket

     7     15-CR-127.     Counsel, please identify yourselves for the

     8     record.

     9                MR. GUERRETTE:       Jamie Guerrette for the United

   10      States, Your Honor.

   11                 MR. MASELLI:       William Maselli for

   12      Mr. Rasberry, Your Honor.

   13                 THE COURT:      Thank you.      Mr. Guerrette, has the

   14      Government provided notice to any individuals entitled

   15      to notice as victims under federal law?

   16                 MR. GUERRETTE:       No individuals in this case,

   17      Your Honor, thank you.

   18                 THE COURT:      Thank you.

   19             All right, Mr. Rasberry, I'd ask that you stand,

   20      please; and Mr. Maselli, if you could move that

   21      microphone toward him, get it right -- closer, please,

   22      even closer, there we go.          That will pick up his voice

   23      now, thank you.

   24             You're Todd Rasberry, correct?

   25                 THE DEFENDANT:       Yes, Your Honor.
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     1                THE COURT:      Mr. Rasberry, the overall purpose

     2     of this hearing is for me to sentence you based upon

     3     your conviction.       I'm going to hear from the attorneys,

     4     and I'll hear from you if you choose to speak, and I'll

     5     hear from anyone else that is presented to speak this

     6     morning.

     7            I'm going to be asking you and Mr. Maselli certain

     8     questions.     I want to be certain that you have first

     9     received and read and understand the revised

   10      presentence investigation report in this case.                  I also

   11      want to be certain that there's nothing that interferes

   12      with your ability to understand and hear what's taking

   13      place in court today.         And I also want to be certain

   14      ultimately that you understand the sentence that I

   15      impose and the reasons for it.

   16             If you don't understand any of the questions that

   17      I ask, let me know, I'll rephrase the question.                  And if

   18      you'd like to speak to Mr. Maselli before responding to

   19      a question, that's fine.          Just let me know and I'll

   20      give you a chance to speak to him.             Do you understand?

   21                 THE DEFENDANT:       Yes, Your Honor.

   22                 THE COURT:      Mr. Rasberry, have you used any

   23      drugs or alcohol in the past 48 hours?

   24                 THE DEFENDANT:       No, Your Honor.

   25                 THE COURT:      Are you currently taking any
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     1     medications?

     2                THE DEFENDANT:       Yes, Your Honor.

     3                THE COURT:      What medications are you taking?

     4                THE DEFENDANT:       Remeron.

     5                THE COURT:      What is it?

     6                THE DEFENDANT:       Remeron.

     7                THE COURT:      And what is that for?

     8                THE DEFENDANT:       Depression.

     9                THE COURT:      And do you have a prescription for

   10      that?

   11                 THE DEFENDANT:       Yes, Your Honor.

   12                 THE COURT:      And what is the dosage and

   13      frequency with which you take it?

   14                 THE DEFENDANT:       Every day, 30 milligrams.

   15                 THE COURT:      You take it once a day?

   16                 THE DEFENDANT:       Yes, sir.

   17                 THE COURT:      Are you taking any other

   18      medications?

   19                 THE DEFENDANT:       No, Your Honor.

   20                 THE COURT:      That one medication that you are

   21      taking, does it in any way affect your ability to think

   22      clearly and to understand what's occurring in court

   23      today?

   24                 THE DEFENDANT:       No, Your Honor.

   25                 THE COURT:      Mr. Rasberry, is there anything
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     1     else which might in any way interfere with your ability

     2     to understand what is being said in court today?

     3                THE DEFENDANT:       No, Your Honor.

     4                THE COURT:      You have your GED; is that

     5     correct?

     6                THE DEFENDANT:       Yes, Your Honor.

     7                THE COURT:      And so you can read and write; is

     8     that right?

     9                THE DEFENDANT:       Yes, Your Honor.

   10                 THE COURT:      And what do you understand the

   11      purpose of today's hearing to be?

   12                 THE DEFENDANT:       Sentencing.

   13                 THE COURT:      Do you authorize Mr. Maselli to

   14      speak and act on your behalf throughout this hearing?

   15                 THE DEFENDANT:       Yes, Your Honor.

   16                 THE COURT:      Mr. Maselli, you have received and

   17      reviewed the revised presentence report with your

   18      client; is that correct?

   19                 MR. MASELLI:       Yes, I have, Your Honor.

   20                 THE COURT:      And I take it you've had

   21      sufficient time to do that?

   22                 MR. MASELLI:       Yes, I have.

   23                 THE COURT:      Mr. Rasberry, you have read the

   24      entire report; is that right?

   25                 THE DEFENDANT:       Yes, Your Honor.
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     1                THE COURT:      And you feel that you understand

     2     it?

     3                THE DEFENDANT:       Yes, Your Honor.

     4                THE COURT:      And you've had sufficient time to

     5     discuss that with Mr. Maselli as well; is that right?

     6                THE DEFENDANT:       Yes, Your Honor.

     7                THE COURT:      Mr. Maselli, at this point in time

     8     is there any -- does the defendant make any objections

     9     to the revised presentence investigation report in this

   10      case?

   11                 MR. MASELLI:       In the context of the agreements

   12      that we've reached with the Government, the only

   13      objection is relating to a criminal history point which

   14      was addressed in the memorandum submitted to the Court.

   15                 THE COURT:      Right.

   16                 MR. MASELLI:       And Mr. Rasberry does not agree

   17      with all factual recitations in the case, but they're

   18      not necessary for resolution of sentence in this

   19      matter.

   20                 THE COURT:      All right.      So for purposes of

   21      this hearing, let's be clear about what was agreed to,

   22      as I understand, between the Government and

   23      Mr. Rasberry, which was presented to me earlier this

   24      morning.

   25              First, that for purposes of Paragraphs 13, 14, and
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     1     19 of the revised -- it's actually the second revised

     2     presentence investigation report, so let me be clear

     3     about that.      When I've been referring to the report,

     4     we're referring to what is the second revised

     5     presentence investigation report.             For purposes of

     6     those paragraphs, the defendant and the Government have

     7     stipulated that the drug quantity in this case is one

     8     to three kilograms; is that correct?

     9                MR. GUERRETTE:       Yes, Your Honor.

   10                 MR. MASELLI:       Yes, it is, Your Honor.

   11                 THE COURT:      As a consequence of that -- well,

   12      before we get to that, for purposes of Paragraph 22,

   13      which is the adjustment for Mr. Rasberry's role in this

   14      offense, it is stipulated, as I understand, between the

   15      Government and the defendant that he should receive two

   16      additional points, not four; is that correct?

   17                 MR. GUERRETTE:       Yes, sir.

   18                 MR. MASELLI:       Yes, Your Honor.

   19                 THE COURT:      And so Paragraph 19, which is the

   20      base level offense, is adjusted to what number?

   21                 MR. GUERRETTE:       30, Your Honor.

   22                 THE COURT:      Thank you.      Is that correct,

   23      Mr. Maselli?

   24                 MR. MASELLI:       Yes, it is, Your Honor.

   25                 THE COURT:      Paragraph 24, which is the
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     1     adjusted offense level subtotal, would be adjusted to

     2     32; is that correct?

     3                MR. GUERRETTE:       Yes, Your Honor.

     4                MR. MASELLI:       Yes, Your Honor.

     5                THE COURT:      And finally Paragraph 28, which is

     6     the total offense level, is adjusted to 29.

     7                MR. GUERRETTE:       Yes, sir.

     8                MR. MASELLI:       Yes, Your Honor.

     9                THE COURT:      All right.      And so I have

   10      accurately summarized, then, or stated the -- what the

   11      Government and Mr. Rasberry have stipulated to this

   12      morning; is that correct?

   13                 MR. GUERRETTE:       Yes, Your Honor.

   14                 MR. MASELLI:       That's right, Your Honor.

   15                 THE COURT:      Mr. Rasberry, you understand this?

   16                 THE DEFENDANT:       Yes, Your Honor.

   17                 THE COURT:      I take it that you've had

   18      sufficient time this morning to discuss all this with

   19      Mr. Maselli?

   20                 THE DEFENDANT:       Yes, sir.

   21                 THE COURT:      And he's explained to you these

   22      changes that were agreed to by you and by the

   23      Government?

   24                 THE DEFENDANT:       Yes, Your Honor.

   25                 THE COURT:      And, Mr. Maselli, you're satisfied
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     1     that Mr. Rasberry understands them as well?

     2                MR. MASELLI:       Yes, I am, Your Honor.

     3                THE COURT:      Now, as I understand, Mr. Maselli,

     4     you will be arguing as part of your sentence

     5     presentation that the Court should either disregard or

     6     provide a departure with respect to one of Mr. -- a

     7     point that's associated with one of Mr. Rasberry's

     8     convictions; is that right?

     9                MR. MASELLI:       That is correct, Your Honor.

   10                 THE COURT:      And so you'd be seeking a

   11      departure under Section 4A1.3?

   12                 MR. MASELLI:       Yes, Your Honor.

   13                 THE COURT:      All right.      And you'll have the

   14      opportunity to argue that point as part of your

   15      sentencing presentation.

   16             Is there anything else at this time that you wish

   17      to argue or put on the record with respect to any

   18      objections to the second revised presentence

   19      investigation report?

   20                 MR. MASELLI:       No, Your Honor.

   21                 THE COURT:      All right, thank you.          You can be

   22      seated, Mr. Rasberry.

   23             And with that, Mr. Guerrette, I'll hear from the

   24      Government on the matter of sentence.

   25                 MR. GUERRETTE:       Thank you, Your Honor.
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     1            As the Court has pointed out, Your Honor, in light

     2     of the agreements that were reached by the parties in

     3     this case, the base offense level is 30, there's a two

     4     role adjustment for Mr. Rasberry being an organizer,

     5     leader, manager, or supervisor of criminal activity,

     6     results in an adjusted offense level of 32, and three

     7     points off, Your Honor, a total offense level of 29.

     8            The Government is submitting, Your Honor, that

     9     Mr. Rasberry is comfortably within a Criminal History

    10     Category V in this case.          His criminal history category

    11     points in the second revised presentence report equal

    12     10.    That puts him in the Category V.            Therefore, the

    13     guidelines in the matter should be in the range of 140

    14     to 175 months pursuant to the guidelines, Your Honor.

    15     We're recommending in this case a sentence in the

    16     middle toward the high end of that guideline range,

    17     with three years of supervised release to follow.

    18            Before I get to the argument, Your Honor,

    19     discussing the 3553 factors, just a couple points I

    20     want to make on the criminal history category point

    21     that the defendant is raising in Paragraph 33 of the

    22     presentence report.         There was an entry, according to

    23     the certificate of disposition of indictment, and

    24     that's Government Exhibit No. 17, there was an entry of

    25     a plea of guilty on 7/21/05, which was after the actual
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     1     offense that Mr. Rasberry was convicted of or -- within

     2     the 10-year range, it was shortly before, but it was

     3     within the 10-year range.

     4            There was some mention that there was a

     5     diversionary type of disposition, but if you look at

     6     the certificate that was produced by the court in New

     7     York, Your Honor, there was a plea of guilty.                  And

     8     there were penalties that were initially imposed on Mr.

     9     Rasberry, including a conditional discharge, community

    10     service, and a six-month license suspension.                  And

    11     according to that same document, Your Honor, it appears

    12     that Mr. Rasberry came back a year later or about 10

    13     months later in 2006 and he was resentenced to time

    14     served.     And that was comfortably within the 10-year

    15     range, so it's the Government's position that that one

    16     point should count, which would be 10 points.

    17            The other issue, Your Honor, that the Government's

    18     raised in its sentencing memorandum is that

    19     Mr. Rasberry was not afforded or assigned any criminal

    20     history category points for the aggravated forgery

    21     felony conviction that he suffered in the Cumberland

    22     County Unified Criminal Court in early 2015.                  And that

    23     related to conduct dating back to November 2014, where

    24     Mr. Rasberry was in a hotel room, there was some cash

    25     found on his person, and when he was identified or they
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     1     attempted to identify him he lied about his name,

     2     indicated he was James Bald, and subsequently signed a

     3     fingerprint card and a USAC, a uniform summons and

     4     complaint, under the false name.             He was subsequently

     5     convicted of that aggravated forgery in February.

     6            In the initial presentence report that came out in

     7     this case, he was assigned a point for that, and that

     8     was with the conduct of him possessing the cash and

     9     admitting to a criminal forfeiture in that case being

    10     calculated as part of the drug quantity.                It was

    11     treated as relevant conduct, but he was still assigned

    12     a point.     In the revised presentence report that point

    13     went away, and nothing really was changed about the

    14     offense conduct, it was still considered relevant

    15     conduct, but only about 32 grams.

    16            So this really goes, Your Honor, if the Court is

    17     unwilling at this point to assign that point, which the

    18     Government maintains should be assigned, I think it

    19     goes to the equity argument that counsel will make

    20     that, instead of being in a Criminal History Category V

    21     he should be in a Criminal History Category IV, which

    22     is significant.       If he were assigned that criminal

    23     history category point, he would be comfortably within

    24     the Criminal History Category V range, in the range of

    25     140 to 175 months, where we feel, Your Honor, based on
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     1     the seriousness of the offense, the defendant's

     2     criminal history and characteristics, the need to

     3     protect the public from further crimes of the

     4     defendant, and need to provide just punishment and

     5     adequate sentence in this case, that's where a sentence

     6     that the Court imposes should reasonably fall this

     7     morning.

     8            When you look at the nature and seriousness of the

     9     offense, Your Honor, it's an extremely serious offense.

    10     The defendant was involved in the distribution of a

    11     highly addictive controlled substance.                  He was involved

    12     not on a discrete occasion but over a substantial

    13     period of time.       We know that at least from November

    14     2014, based on his admission to the criminal forfeiture

    15     count, he was involved in the distribution of

    16     controlled substances.

    17            The relevant conduct lookback that the Government

    18     proposed in its sentencing memo is a lot more discrete

    19     than that and really looks back to a finite 90-day

    20     period when you're calculating the drug quantity, but

    21     he was involved at least for a period of six months in

    22     the distribution of heroin.

    23            Additionally, Your Honor, he was a -- by his own

    24     admission a leader, organizer, supervisor, or manager

    25     in the activity.        The conduct occurred over the period
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     1     of six months, it involved a number of different

     2     actors, involved a number of different locations, and

     3     the defendant had some leadership role in the ongoing

     4     activity.

     5            I don't have to tell the Court, Judge, that Maine,

     6     as well as states across the nation, are in the middle

     7     of what's being referred to as an opiate crisis.

     8     People are losing jobs, can't maintain jobs, families

     9     are being ravaged, and people are dying left and right

    10     of overdose from opiates.           Unquestionably the

    11     defendant's role in the distribution of heroin in the

    12     greater Portland community for that period of time

    13     played a role in that.          He poured gasoline on the fire,

    14     arguably, to the opiate crisis in Maine.                And by his

    15     own stipulation and the evidence that we submitted in

    16     the sentencing exhibits, one to three kilograms of

    17     heroin is not a nominal amount.            It's a pretty

    18     substantial amount.         And defendant was at it for a

    19     considerably long period of time.

    20            Just to give the Court some perspective, Your

    21     Honor, one of the Government's sentencing exhibits,

    22     No. 4, is a photograph of evidence that was seized from

    23     the defendant and a cooperator on July 15th, 2015.

    24     Just to remind the Court of those basic facts, and

    25     those are the facts contained in the prosecution
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     1     version, DEA agents learned that the individuals were

     2     going to be making the delivery to a certain location,

     3     they interdicted her, she was in possession of six

     4     baggies of heroin that were intended for distribution.

     5     She was immediately cooperative, indicated her source.

     6     Champagne, Mr. Rasberry, was located in a specific

     7     hotel room with additional drugs.             Agents went to the

     8     hotel room and found Mr. Rasberry in possession of

     9     about 51 grams of a substance that was later tested to

    10     be positive for heroin, caffeine, and quinine.                  That's

    11     the chemical composition that were in the six bags that

    12     were possessed by the cooperator moments before.

    13            The other thing that Mr. Rasberry had on his

    14     person, Your Honor, is a baggie containing about 23 or

    15     24 grams of quinine, basically a cutting agent that was

    16     used with the heroin.         Extrapolating what the

    17     cooperator had on her person, so it was about -- there

    18     were six baggies of heroin, the total net weight was

    19     about 2 grams.       You use that and apply it to the

    20     substantial quantity that Mr. Rasberry had on his

    21     person, the heroin possessed by Mr. Rasberry on that

    22     one discrete day was capable of producing about 150

    23     dosage units or bags of heroin for distribution in this

    24     community.      And we're looking at one discrete day, Your

    25     Honor.     And it's not just this day, but the guidelines
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     1     requires the Court to consider all of his relevant

     2     conduct, and by agreement and also the evidence would

     3     establish here we're dealing with one to three

     4     kilograms.      And the photograph, Your Honor, in

     5     Exhibit 4 really demonstrates the substantial amount of

     6     heroin that Mr. Rasberry was in possession of on that

     7     date.

     8             Another factor, Your Honor, that I think is

     9     significant, Mr. Rasberry wasn't just a base player in

    10     a distribution scheme.          By agreement we've agreed to a

    11     two-point role enhancement for him being a leader,

    12     organizer, supervisor, or manager of the criminal

    13     activity.      Over the period of time where the Court

    14     could reasonably look back at relevant conduct, there

    15     were a number of actors that came in and came out.

    16     There were a number of different trap locations used,

    17     according to the testimony of the cooperator, which is

    18     Exhibit No. 5.       There were also individuals that had

    19     limited roles.

    20             You're not dealing with someone in Mr. Rasberry

    21     that was doing this, like some of the cooperators that

    22     we have in this case, because they were strung out on

    23     heroin and only engaging in the conduct because of

    24     their severe addictions and engaging in the conduct to

    25     get enough heroin just to feel normal.                  I would submit,
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     1     I know there's some discrepancy in the revised

     2     presentence report, that the defendant wasn't doing it

     3     because he was addicted.          It was more of a

     4     profit-motivated activity for him.             There's some

     5     indication from the presentence report, I think he

     6     indicated to probation that he had used controlled

     7     substances, marijuana, there was frequent use of

     8     alcohol, and he also told probation during the

     9     presentence investigation that he was also using

    10     Percocet and I believe it was cocaine was the other

    11     substance.

    12            You contrast that with his bail interview, where

    13     he says only that he was using marijuana and alcohol,

    14     didn't mention anything about the other substances, and

    15     I think Cumberland County Jail records talk about

    16     marijuana, alcohol, and ecstasy, not heroin -- not

    17     Percocet and not cocaine.

    18            So unlike the individuals noted in the

    19     Government's sentencing memo SOI-1, 2, and 3, who all

    20     had extremely severe addictions to this stuff,

    21     defendant was not a heroin user.             He's never claimed to

    22     be a heroin user.        He's never suffered from those

    23     extreme addictions, yet he was involved in the

    24     distribution of substantial quantities of the substance

    25     in our community for an extended period of time.
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     1            So in light of that, Your Honor, I think when you

     2     look at his history and characteristics, another factor

     3     in this analysis, when you weigh those, on balance I

     4     would submit that they're aggravating.                  I recognize

     5     that Mr. Rasberry had a troubled childhood.                  He

     6     obviously has individuals in the courtroom that care

     7     very deeply about him, that have written letters to the

     8     Court that he was a very caring father.                  But that needs

     9     to be contrasted with all the other factors, including

    10     his criminal history.

    11            When you look at his criminal record, Your Honor,

    12     it's significant, and a Criminal History Category V

    13     adequately provides for that.            He's had multiple stints

    14     in prison for felony offenses.            He's routinely used

    15     fake names and aliases, not just when interviewed but

    16     when arrested and when prosecuted.             His offenses

    17     include possession of a sawed-off shotgun in 2002, a

    18     felony assault in 2002, possession of crack cocaine in

    19     2005, the attempted possession of greater than an ounce

    20     of cocaine in 2008, where he was convicted under James

    21     Bald and served time under James Bald.                  There was an

    22     arrest in Rhode Island under the fake name of Rahiim

    23     Etheridge in 2012, where he was charged with a couple

    24     of different offenses, and that's summarized in

    25     Paragraph 38, where he failed to appear.                  And according
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     1     to that report a warrant of arrest is still

     2     outstanding.      So I think that's another factor, when

     3     you're looking at the equities of whether he should

     4     fall within a V or a IV.          If he had resolved that case

     5     and then convicted of any of those offenses, which he's

     6     pled from, the category would likely be again

     7     comfortably within the Criminal History Category V.

     8             And then lastly, Your Honor, the aggravated

     9     forgery conviction in January-February 2015, there

    10     again he was I think -- at the time there was -- the

    11     Court's familiar with it, he was on the hook for

    12     potentially possession of marijuana, a large amount of

    13     cash in his pockets.         He's asked what his name is,

    14     doesn't provide any ID but identifies himself as James

    15     Bald.    Eventually gets brought over to the jail, signs

    16     a fingerprint card James Bald, signs the uniform

    17     summons and complaint James Bald, and only when he's

    18     confronted with the results of the FBI fingerprint

    19     query where it identifies him as Todd Rasberry does he

    20     say, yeah, all those names are me.             I think he rattled

    21     off four or five different names, according to the

    22     presentence report and sentencing Exhibit No. 7,

    23     including Rahiim Etheridge, James Bald, I think there

    24     was Jorge Pride, a number of others that he's used.

    25             I'd submit, Your Honor, that his record is
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     1     evidence that the defendant has led a criminal

     2     lifestyle, only interrupted by his arrests and brief

     3     stints in prison, and that's a factor that should weigh

     4     heavily in what the Court imposes for a sentence this

     5     morning as well.

     6            Lastly, Your Honor, the remaining factors in 3553

     7     similarly the Government would contend call for a

     8     lengthy sentence, one that will promote respect for the

     9     law and provide just punishment for the offense.                   I'd

    10     submit that there's both a need to provide specific

    11     deterrence to the defendant in this case, and there are

    12     also a number of individuals that were allegedly

    13     involved in this course of conduct that have not been

    14     prosecuted and that will likely find out what

    15     Mr. Rasberry receives for a sentence today.                 So there's

    16     both the need for general deterrence for those

    17     individuals and specific deterrence for the defendant.

    18            Lastly, Your Honor, given the history and conduct

    19     that was involved here, in light of the crisis that

    20     this state is facing, there is a need to protect the

    21     public.

    22            So we would recommend that the Court impose a

    23     sentence within the 140 to 175 guideline range.                   We

    24     recommend something at the middle or the higher end of

    25     it.
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     1                 THE COURT:      Thank you, Mr. Guerrette.

     2                 MR. GUERRETTE:       Thank you, Your Honor.

     3                 THE COURT:      Mr. Maselli.

     4                 MR. MASELLI:      Your Honor, could we briefly

     5     approach the bench?

     6                 THE COURT:      You may.

     7                                   (Sidebar)

     8                 MR. MASELLI:      Judge, I just wanted to alert

     9     you to a situation and get your reaction to this,

    10     because Mr. Rasberry's fiancée has brought their son

    11     here, which frankly I recommended that they do not

    12     bring him here.       They both would like when she comes

    13     up -- what I would suggest is that he can come with her

    14     and say what he wants to do, but I don't want to do

    15     this if this is offensive to the Court or if it's going

    16     to have a negative reaction, but it's what they want.

    17                 THE COURT:      How old is the son?

    18                 MR. MASELLI:      I think he's six.         And I asked

    19     him what he was going to say, he was coherent and just

    20     some basic comments to make.           But, again, I don't want

    21     to offend the Court by that and --

    22                 THE COURT:      Jamie, do you want to be heard on

    23     this?

    24                 MR. GUERRETTE:       No, Your Honor.

    25                 THE COURT:      You're reasonably comfortable that
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     1     it will go okay?

     2                 MR. MASELLI:      Yes, I am.

     3                 THE COURT:      That's fine.

     4                 MR. MASELLI:      Thank you very much.

     5                 THE COURT:      Thank you.

     6                                 (Open court)

     7                 THE COURT:      Mr. Maselli.

     8                 MR. MASELLI:      Thank you, Your Honor.           Before

     9     making a sentencing argument, I would ask a few

    10     individuals that are present to address the Court, and

    11     first is Aidalina Costoso, if she could bring Messiah

    12     with her.

    13                 THE COURT:      Please if you would step forward

    14     and approach the podium with the microphone.                  And if

    15     you would please state your first and last name and

    16     spell both for us.

    17                 MS. COSTOSO:      Aidalina Costoso, my first name

    18     is spelled A-I-D-A-L-I-N-A.           My last name is

    19     C-O-S-T-O-S-O.

    20                 THE COURT:      Thank you, please go ahead.

    21     Please speak.

    22                 MS. COSTOSO:      I don't know where to start.              I

    23     have a six-year-old with Todd Rasberry.                 He's a very

    24     good dad.      I ask the Court for leniency for my son.                 I

    25     don't really know what to say.            He's a good dad.         My
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     1     son is very attached to him.           I've worked a lot so

     2     there's times that he's taken care of him, you know,

     3     with ABCs and teaching him how versus saying yeah, yes.

     4     Messiah is a very great kid.

     5            I have other kids, not with Mr. Rasberry, and they

     6     have experienced the good things with him.                 He has

     7     taught them right from wrong.            I have a 14-year-old

     8     daughter that he's helped a lot with like school.                   I

     9     have an almost 20-year-old son who -- who now lives on

    10     his own, but they all have different experiences with

    11     him.    I have an 18-year-old son, who's not here today

    12     because he's signing up for college.              Of all my kids

    13     that one is the one who like I had to like talk to

    14     more, messing up in school a little bit, and Mr.

    15     Rasberry was able to help him focus.

    16            I've been in Maine since my daughter was four

    17     months old and she's 14.          I had Messiah here.          And like

    18     I said, he's a great dad.           And I know people go through

    19     things and make mistakes, but my son really needs him.

    20     I don't really know what else to say.

    21                 THE COURT:      Thank you, Ms. Costoso.

    22                 MR. MASELLI:      Ismael Baez, Your Honor.

    23                 THE COURT:      Sir, please step up to the

    24     microphone.      If you'd state your name and then spell

    25     your first and last name.
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     1                 MR. BAEZ:     Ismael Baez.       Ismael is spelled

     2     I-S-M-A-E-L, and last name is B-A-E-Z.

     3                 THE COURT:      Thank you, please go ahead.

     4                 MR. BAEZ:     So I'm Ismael, I'm going to be 20

     5     next week.      You know, start from the beginning.               I

     6     moved to Maine when I was about eight years old, you

     7     know, right in South Portland.            I grew up here.         My

     8     parents lived with us, me, Julian, and Idalis.                  You

     9     know, relationships only work out sometimes, and they

    10     ended up getting divorced.           And my father was stubborn,

    11     didn't want to move out, so we moved to Portland.

    12            When we got to Portland, I think maybe a year or

    13     so later, you know, my mom had told me, I was maybe,

    14     what, 12 at the time, she was working 9:00 to 9:00

    15     every day, and she told me, I have a boyfriend.                   I

    16     said, okay, that's fine.          I said, what's his name?              She

    17     said Todd.      I said, oh, are we going to meet him before

    18     he comes in?      And she said, yeah, of course.              So he

    19     came over one day, we met him, you know, he -- short

    20     guy to me, I'm a tall dude, so he was nice, genuine,

    21     and he cared, could tell he just cared right from the

    22     get-go.

    23            Todd ended up moving in and, you know, as a

    24     12-year-old kid, 13 years old, you just find yourself

    25     in a situation where you kind of get defensive because,
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     1     you know, you see yourself as the man of the house,

     2     your mom's working all day, 12 hours a day, day and

     3     night.     You walk from one side of town to the other to

     4     get to school, no matter the weather, take care of your

     5     little siblings, take them to school, make sure they do

     6     their homework, make sure they're bathed, they're fed,

     7     take care of yourself.          And, you know, I saw myself as

     8     a father figure to my younger siblings.                 So when he

     9     came in I was kind of, you know, taken back by it and,

    10     you know, we kind of butted heads but I got over it.

    11     He was a good man and eventually I let him in, my

    12     siblings let him in.         He was a father figure to us.

    13            Todd, you know, he's a good dude.                He went in --

    14     he came into custody maybe a week before my daughter

    15     was born, 16-month-old daughter now, Ivy.                 And the

    16     first time she met him she touched his hand through

    17     glass in a prison and waved and called him grandpa.

    18     Not the first time -- you know, that wasn't the

    19     experience I wanted her to have, but I knew she needed

    20     to see him because, you know, it's -- it's -- he's

    21     family, that's my dad.

    22            Kind of off topic, back to what I was saying, you

    23     know, Todd came in the home and my mom worked too, too

    24     much, almost.       That's how she grew up, without parents,

    25     basically.      Her father died when she was younger, and
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     1     her mother had other things going on and my mom was on

     2     her own since she was 14, house to house, family to

     3     family.     So I kind of just like stopped like, you know,

     4     I got a gift to have a mother.            My father and my mother

     5     separated, but to have another man in the house would

     6     be kind of cool.        So when Todd came in it was more

     7     like, you know, he was a brother to me.                 He taught me

     8     things I didn't even know.           He can do a lot more things

     9     than what some people think he does.              He's very

    10     talented, very smart.         And he definitely, definitely

    11     sees, you know, he sees the good in people always, at

    12     all times.

    13            I don't know if anybody in here knows but, you

    14     know, he -- he means so much to my family, as much

    15     as -- you know, he was in New York one time and walking

    16     home and someone actually tried to rob him and he got

    17     shot twice, almost died.          My mother -- I think I was

    18     maybe 15 or 16, she had no choice, she got on a plane,

    19     stood by his side, he was basically dead on the table,

    20     and he lived.       I took care of my siblings for three

    21     weeks, three younger kids, all by myself.                 You know, it

    22     was tough, it was tough, but she had to go and it was a

    23     time of need for him, and I respected that so I did

    24     that favor for her.         And it made me a better person and

    25     it gave me a -- you know, a taste of what fatherhood
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     1     might be like when I have kids someday, and two years

     2     later I had the joy of becoming a father at 18, 19.

     3            Todd Rasberry is my father.           I don't care what

     4     anybody says, what blood tests say, what they say, he

     5     says, you know, that's my dad, and, you know, is -- you

     6     know, as the prosecutor just said, you know, even

     7     though he's a good father that shouldn't take away from

     8     what he's done.       But I'm guessing a lot of people in

     9     here are parents.        No one would ever like to be told

    10     that, you know, just because you're a dad shouldn't

    11     take away from mistakes he's made in his life because

    12     he's a good -- he's a good man.            He came in, he did

    13     what he had to do, he -- he took care of me, took care

    14     of my siblings.       He -- you know, when we needed

    15     something, needed someone to talk to, you know, need to

    16     go out, he would just be like, come here, man, give you

    17     a hug, let you cry, cook you some food.

    18            Basically when I was raised it was a single-family

    19     home technically because my father worked a lot, but

    20     when they divorced, you know, my mom, she not just

    21     worked a lot, she did a lot.           She would come home and

    22     be up until 2:00, 3:00, 4:00 in the morning, we were

    23     just kids, make messes all the time and stuff, just

    24     cleaning, cleaning, cleaning.            When Todd came in the

    25     house, she'd come home, she got to sleep because stuff
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     1     was done, food was made.          She got to just be her, and

     2     honestly since he's gone in she's been broken.                  She

     3     closed down her restaurant right in the Portland Public

     4     Market.     She -- she's taken on a full-time job in

     5     Biddeford hospital, I believe, in the kitchen.                  She,

     6     you know, she closed down the market just to be more of

     7     a parent to my other three siblings, and it's hard to

     8     even do that when, you know, you've got to make ends

     9     meet.

    10             So having Todd home was great for us, and although

    11     I've moved out now, you know, every day just seems

    12     like, you know, what if -- what if he was sitting right

    13     here next to me, you know, hanging out in my apartment

    14     with my family, coming over for dinner.                 It's just --

    15     it's hard to imagine life without him.

    16             And although, you know, you're sentencing him

    17     today, I just -- I hope you know that he's an honest

    18     individual and he -- he means well.              He's had plenty of

    19     mistakes, as you know, but that doesn't take away from

    20     the person he is, the person he will always be, which

    21     is my father.       Thank you.

    22                 THE COURT:      Thank you, Mr. Baez.

    23                 MR. MASELLI:      May it please the Court, just in

    24     terms of the guideline issue, Your Honor, the criminal

    25     history point, as I mentioned in the memorandum, I
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     1     would principally like to just rest on the argument

     2     that was made in the memorandum and not go into length

     3     about it right now.         I just think that under all the

     4     circumstances in the case, especially since it was a

     5     six days -- counted within a six-day period and that it

     6     was his understanding that the case was being

     7     discharged without a conviction, taking everything into

     8     account that was listed in the memorandum, we would ask

     9     the Court to sentence him under Category IV.                  So I'd

    10     like to move on from that, if I could.

    11                 THE COURT:      Please.

    12                 MR. MASELLI:      We've reached the point in the

    13     proceeding that I've always considered to be the most

    14     difficult and challenging aspect of a judge's duty,

    15     sentencing another human being.            And a human being is

    16     what I am focusing on, because that is truly what we're

    17     dealing with.

    18            Certainly it is easy to get lost in certain

    19     directions when looking at the past and current crimes

    20     and crunching numbers, but in the end it's a human

    21     being that we're dealing with and all the other human

    22     beings that this gentleman has had contact with and is

    23     involved with.

    24            The Government made its points concerning

    25     Mr. Rasberry's criminal activities, and we certainly
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     1     agree that he's been convicted of a very serious

     2     offense.     And we also understand that there's a social

     3     problem here that Mr. Rasberry is not just the cause

     4     of, he's part of the whole situation that goes way back

     5     before Maine had supposedly a -- or has a crisis of

     6     opiates in its society.

     7            The Todd Rasberry that the Government has referred

     8     to is not the Todd that is known by his family.                   And

     9     you can see that in the letters that were sent that

    10     were all from the heart, very moving, and I'd suggest

    11     to the Court that they're the kind of letters that

    12     people write only when they're profoundly attached to

    13     and affected by the individual that they're writing

    14     about.

    15            Todd has a lot of sides to him, but I think that

    16     the main point here is that he's not a throwaway

    17     person.     He's not just the sum of his prior activities,

    18     which all stemmed from his childhood and upbringing.

    19     He's a good man, as his stepson eloquently just stated

    20     to the Court.       He's a loved person.         He's highly

    21     intelligent.      He could have had a lot of other

    22     possibilities in his life had he had a different

    23     upbringing.

    24            Todd has accepted responsibility for the conduct

    25     he was involved with in this case.             He came in and pled
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     1     guilty before Your Honor, and he accepted that he was

     2     involved in this activity and has taken responsibility

     3     for it.

     4            The paragraph at the end of the presentence report

     5     talking about the possible reasons for variance below

     6     the guidelines is I suggest to the Court extremely

     7     powerful, Paragraph 75.          When you just put all of these

     8     things together, his upbringing, his mental illness

     9     properties, his lack of guidance, you put all these

    10     things together and it's -- it's a powerful statement.

    11            I mean, Todd -- Todd's father left basically just

    12     after he was born.        He never had a father.           He was

    13     sexually abused by an uncle when he was young.                  So if

    14     you can imagine a young kid looking for a father figure

    15     from his -- from his own family, he was abused there.

    16     His mom did the best that she could.              She worked for

    17     some time but she became a drug addict.                 Todd was

    18     encouraged just to go out onto the streets as a young

    19     boy, just get out of the house, go outside.

    20            So what are you going to find outside on the

    21     streets when you're seven years old, eight years old?

    22     You're going to find a lot of crime, gangs, criminal

    23     activity.      You're also going to find a lot of

    24     charismatic and powerful people that would have a big

    25     influence on him, but unfortunately absolutely the
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     1     wrong kind of influence.

     2            So Todd was looking up to people that were

     3     involved in crime.        He was involved in serious criminal

     4     activity by the age of 11.           He was in and out of

     5     juvenile custody, and this is the life that he was

     6     destined to by his circumstances.             So when you think

     7     about it, Todd Rasberry could have turned out a lot

     8     worse and on a lot more destructive path than he

     9     actually has been on, despite the serious nature of the

    10     crimes that he's been convicted of.

    11            There's an assault in his record for which he

    12     received a substantial sentence.             It's really quite

    13     some time ago now.        And that was a situation in 2001

    14     where there was a large fight, a brawl, basically 16 --

    15     approximately 16 individuals were involved, and a few

    16     of them were prosecuted as a result of that.

    17            Since that time in 2001, and that's 15 years ago

    18     now, there's been no allegations of any violent

    19     conduct.     And I think that's critical for the Court to

    20     take into consideration, because we're asking the Court

    21     to give a substantial break to Todd Rasberry.                  He's

    22     done time before as a young man.             He's had a couple of

    23     sentences that were two years, three and a half years

    24     in, but it was a time of his life that he was unable to

    25     make the changes necessary to change his life.
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     1             When he got out of prison in 2004 he had an

     2     absolute commitment to try.           He took a job in

     3     construction.       He lived with his mother.           And within a

     4     few months he had a serious injury at work.                 He was

     5     unable to work.       He had no money; he had nowhere to

     6     turn.    He went back into the only way of life that he

     7     knew.

     8             Todd also has serious mental health issues.                He's

     9     been diagnosed with depression.            He's had substance

    10     abuse issues.       It's interesting that while he's been in

    11     the Cumberland County Jail he's been addressing these.

    12     You have noticed that he hasn't been wasting his time,

    13     that he's done domestic violence courses, that he's

    14     seeing his counselor, Paul Bartlett.              I've spoken with

    15     him a few times.        I spoke with him first six to nine

    16     months ago, and again we had communications in the last

    17     couple of days.       And Mr. Bartlett is impressed with the

    18     efforts that Mr. Rasberry has made.              He's been

    19     regularly taking medication to keep on the right track.

    20     He's been participating in counseling sessions, and

    21     he's been no problem in the jail for the last one and a

    22     half years.

    23             So while we recognize that there are a number of

    24     factors on the other side of the equation, Mr. Rasberry

    25     is a man that absolutely can change his life around.
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     1     And I think that what the Court does today really can

     2     make a substantial difference as to whether he has a

     3     real chance to change his life around with the family

     4     that surrounds him now or whether he's going to come

     5     out of jail after even his young son is an adult or

     6     nearly an adult.        He's got -- he's got a new

     7     granddaughter.       He has a six-year-old son who loves his

     8     father very much.        I spoke with him today, and he just

     9     wanted to emphasize how much he loves him, how much he

    10     loves spending time with him and whether he can come

    11     home at some time soon.

    12            A sentence substantially under 10 years in this

    13     case would be absolutely within the statutory

    14     guidelines of not being more than necessary to achieve

    15     the purpose of the statute.           And it makes all the

    16     difference in the world whether Todd Rasberry has

    17     something to live for over the next years, whether he

    18     can get out and have a real relationship with his son

    19     when he's still a teenager, when he can integrate back

    20     into the family with his stepsons and daughter, his

    21     son, his other family members that have written from

    22     New York that the Court has the letters from.

    23            He also has a son who's 17 years old, Unique, that

    24     he's had a good relationship with at various times.

    25     But this is one of the things that really strikes me
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     1     about Todd's real desire to change his life now because

     2     he recognizes that he could have done more with his

     3     son.    And he was determined to do more with Messiah,

     4     but he was trapped in this world where he was doing

     5     what he knew how to do and was not able to make a

     6     change because he didn't have the upbringing or the

     7     education to go into a real profession.

     8            I think that the time that Todd has right now,

     9     because he's going to have a substantial sentence from

    10     this Court, is going to give him the opportunity to

    11     really think through what he wants to do.                He has plans

    12     already of what he wants to do with his life, which he

    13     may address with you, but that can change, of course,

    14     over the next years.         But what he knows is that he

    15     wants to move out of this realm of criminal activity.

    16            I think that the Court really has an opportunity

    17     here, Your Honor, to give a sentence that recognizes

    18     the seriousness of the conduct while also giving him a

    19     chance to survive in the future and to be a productive

    20     member of society.        When he gets out of prison he's

    21     going to be on supervised release.             If he doesn't

    22     straighten himself out, the Court's going to see him

    23     again very soon.        So I don't consider that to be a huge

    24     risk factor.

    25            And again I would point to the lack of -- of
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     1     violent conduct, which is important, because where he

     2     grew up violence surrounded him on a daily basis, and

     3     as you just heard from his stepson, in 2014 he was

     4     actually shot in an attempted robbery.                  So he's been

     5     surrounded by violence.          And based -- and despite that,

     6     he's made himself a family man and moved into a family

     7     that had no father at home and took upon the role of

     8     friend and brother and father to the children that were

     9     there.     It's not what we normally consider of someone

    10     that is not beyond redemption.

    11            I would just state for the record that he was

    12     originally charged with conspiracy, he pled to

    13     possession.      The co-conspirator in that case,

    14     Ms. Wilson, who was before this Court and of course her

    15     case is unique unto itself, but just in terms of giving

    16     somebody a break and talking about disparity purposes,

    17     Ms. Wilson was sentenced to a time-served sentence.

    18     And I'm sure that she was deserving of that.

    19            But I just bring that up to the Court because I

    20     think Todd is somebody that's worth taking a chance on.

    21     People I'm sure have taken chances on him before when

    22     he was younger, but I think that the Court has seen

    23     from the relationships that he's forged that -- that he

    24     is capable of forming sincere and lasting human

    25     relationships and that he's determined to have a
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     1     relationship with his family and with his young son,

     2     and I think it's to everybody's benefit in this society

     3     if he's able to do so.

     4            So we're asking the Court to vary substantially

     5     from the guidelines.         I think the Government has made

     6     points concerning the epidemic in this culture of

     7     opiates.     It goes far beyond Todd Rasberry.              He's in

     8     the process there, but it's -- I think it's been

     9     recognized all around this country over the last four

    10     or five years that the -- the Draconian sentences for

    11     nonviolent drug offenders has gone too far in one

    12     extreme and it's been coming back for quite some time.

    13     And I think that it's more the rule than the exception

    14     that the Court issues a variant sentence below the

    15     guidelines.

    16            And we suggest that a sentence substantially under

    17     10 years, under all the circumstances of this case and

    18     all the circumstances of Todd and what he still has to

    19     offer human beings, would be the appropriate sentence

    20     in this case.       Thank you very much.

    21                 THE COURT:      Thank you, Mr. Maselli.

    22            Mr. Rasberry, as a defendant before the Court for

    23     sentencing you have a right to speak on your own

    24     behalf, it's called the right of allocution, if you

    25     wish to do so, but you're not required to.                 It's only
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     1     if you wish to speak.         Do you wish to speak at this

     2     time?

     3                 THE DEFENDANT:       Yes, Your Honor.

     4                 THE COURT:      All right, please stand.           Go

     5     ahead.

     6                 THE DEFENDANT:       My name is Todd Rasberry.              I

     7     just want to let you know that I was a very active

     8     member in my family life and that, you know, I plan on

     9     being a productive member and hopefully you can have

    10     leniency on my sentence.          Thank you.

    11                 THE COURT:      Thank you.

    12             Mr. Maselli, anything else on behalf of

    13     Mr. Rasberry?

    14                 MR. MASELLI:      Not at this time, Your Honor.

    15     We would be recommending that the Court makes a

    16     recommendation for the 500-hour drug program in prison

    17     and for a designation -- recommended designation that's

    18     nearby, Fort Devens or Berlin, so that his family can

    19     continue to visit him.

    20                 THE COURT:      I didn't hear everything you just

    21     said, you said Devens and what else?

    22                 MR. MASELLI:      And Berlin, New Hampshire.            I

    23     believe those are the closest prisons to the state of

    24     Maine.     Thank you very much, Your Honor.

    25                 THE COURT:      All right, and I just want to now
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     1     review the exhibits that I've received on behalf of

     2     Mr. Rasberry.       I have two letters that were received

     3     today.     One is from Julian, Mr. Rasberry's stepson.

     4     The other is from Idalis Baez.            We'll mark those as

     5     defendant's exhibits -- actually along with the letters

     6     that were previously submitted which I have read, we'll

     7     mark all these collectively as Defendant's Exhibit 1.

     8     Is there any objection to the Court's receipt of them?

     9                 MR. GUERRETTE:       No, Your Honor.

    10                 THE COURT:      All right.     So the record's clear,

    11     this includes the certificate from the Cumberland

    12     County Sheriff's Office, the letter of Ms. Campbell,

    13     the letter previously submitted by Aidalina, Mr. Ismael

    14     Baez's letter, Sophia Smith's letter, Rahiim

    15     Etheridge's letter, a letter from an individual,

    16     doesn't contain a name, it's regarding Uncle Todd and

    17     so obviously a niece or nephew or someone who views him

    18     in that light.       It's I would have to guess to be

    19     written by a child.         Rahiim Etheridge's letter and

    20     Briana's letter.        Oh, in addition Yvonne's letter,

    21     Renell's letter.        These will all be marked collectively

    22     as Defendant's 1 and are received in evidence.

    23            In addition, the Government has submitted exhibits

    24     under seal, and is there any objection by the defendant

    25     as to the Court's receipt of these exhibits?
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     1                 MR. MASELLI:      No, Your Honor, thank you.

     2                 THE COURT:      Okay.    All are admitted

     3     collectively as the Government's 1 -- actually, they

     4     were individually marked, and so they're admitted as

     5     marked and they are received and will remain under

     6     seal.

     7             Counsel, it's my intention now to recess so that I

     8     can reflect upon the arguments that have been made and

     9     the information I have received.             Is there anything

    10     that we need to address before we recess?

    11                 MR. GUERRETTE:       No, Your Honor, thank you.

    12                 THE COURT:      I anticipate the recess will be

    13     approximately 15 to 20 minutes.            Court will be in

    14     recess.

    15        (A recess was taken from 11:08 a.m. to 11:34 a.m.)

    16                 THE COURT:      All right, returning to the case

    17     now of United States versus Todd Rasberry, this is

    18     15-CR-127.

    19             In arriving at a sentence in this case, I've given

    20     thought to the arguments that Mr. Guerrette made, as

    21     well as Mr. Maselli.         And I certainly listened

    22     carefully to the individuals that spoke in support of

    23     Mr. Rasberry, as well as Mr. Rasberry himself, of

    24     course.     I've also reviewed all the exhibits which have

    25     been marked and have been received as part of the
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     1     record of the sentencing.           And I have studied the

     2     second revised presentence investigation report

     3     carefully.      I adopt the report in its entirety as my

     4     findings as part of the sentencing.

     5            Mr. Rasberry, in arriving at a sentence the law

     6     obligates me to consider many things.              Of course, the

     7     sentencing guidelines which have been discussed, which

     8     I have considered.        In addition, all other relevant

     9     factors, and this includes the nature and circumstances

    10     of the crime that you committed, your personal history

    11     and characteristics, the need for the sentence to

    12     reflect the seriousness of your crime, to be just

    13     punishment, to provide adequate deterrence, not only to

    14     you but to others, to protect the public from further

    15     crimes by you, and to provide you with needed

    16     educational or vocational training, medical care, or

    17     other correctional treatment in the most effective way.

    18     In addition, I have been mindful of the need to avoid

    19     unwarranted sentencing disparities in considering the

    20     sentence in this case.

    21            You pled guilty to Count 2 of the indictment in

    22     this case, possession with intent to distribute heroin,

    23     which is a Class C felony, and I have found you guilty

    24     of that offense.

    25            Now, turning first to the guidelines calculation
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     1     in this case, the total offense level for purposes of

     2     this offense is 29.         Mr. Rasberry's criminal history

     3     category is a V.        This produces a sentencing range of

     4     140 to 175 months, a period of supervised release of

     5     three years, a fine range of 15,000 to $150,000, and he

     6     is ineligible for probation.

     7             I will turn in a moment to discuss the request for

     8     departure in this case, but before I get to that,

     9     counsel, is there any objection to the summary I've

    10     provided regarding the applicable guidelines provisions

    11     here?

    12                 MR. GUERRETTE:       No, Your Honor.

    13                 THE COURT:      Mr. Maselli?

    14                 MR. MASELLI:      No, Your Honor, other than our

    15     objection to counting that single point.

    16                 THE COURT:      Right, Ms. Mosley?

    17                 PROBATION OFFICER:        Your Honor, I believe the

    18     fine range, the maximum is $1 million.

    19                 THE COURT:      Thank you.     The maximum fine is a

    20     million dollars.        The nonbinding guidelines range

    21     however, would be 15,000 to 150,000 dollars, correct,

    22     Ms. Mosley?      No?

    23                 PROBATION OFFICER:        No, Your Honor, 15,000 to

    24     1 million.

    25                 THE COURT:      To 1 million, under the guidelines
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     1     as well.

     2                 PROBATION OFFICER:        Yes, Your Honor.

     3                 THE COURT:      All right, I accept that

     4     clarification and I adopt it.

     5            Now, with respect to the objection that the

     6     defendant has made regarding Paragraph 33 of the second

     7     revised presentence investigation report, this is the

     8     conviction in 2005 for criminal possession of a

     9     controlled substance for which one criminal history

    10     point is assigned.

    11            First of all, I find that that conviction does

    12     qualify under the guidelines for inclusion, and it

    13     appropriately results in one point.              The -- so I see no

    14     reason to disregard that conviction in determining his

    15     criminal history category, at least as it's presented.

    16            I think the second issue, though, is whether I

    17     should consider departing from the guidelines in

    18     connection with that point on the basis that, as argued

    19     by the defendant, it overstates his criminal history.

    20     This would be Section 4A1.3 of the guidelines.

    21            I have given careful consideration to that, and

    22     although I think that actually it's a close call, I'm

    23     satisfied in the end that it does not overstate the

    24     seriousness of his criminal history.              Viewed in the

    25     context of the entire history, which includes a
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     1     conviction for aggravated forgery in 2014 for which he

     2     has received no points and the pending charge in Rhode

     3     Island for which of course he received no points

     4     because it's not a conviction but for which there is an

     5     outstanding warrant for four years now, it seems to me

     6     that, considered in the context of his entire history,

     7     the resulting Criminal History Category V and the

     8     inclusion of that point does not overstate the

     9     seriousness of Mr. Rasberry's criminal history

    10     category, and so I'm going to deny the objection on

    11     that basis.

    12            This is a case in which Mr. Rasberry has

    13     specifically been found guilty of possession of heroin

    14     with the intent to distribute.            From the events that

    15     arose on July 15th of 2015, there is -- there was a

    16     suppression hearing in this case, and so I'm quite

    17     familiar with the events of that day.              And to

    18     summarize, the law enforcement apprehended Ms. Wilson,

    19     who was a runner working for Mr. Rasberry, and in turn

    20     received permission to search her hotel room.                  That led

    21     to Mr. Rasberry himself, and he was in my view properly

    22     searched and found to be in possession of a significant

    23     quantity of heroin along with, as I recall, quinine and

    24     caffeine.

    25            As Mr. Guerrette pointed out, this was in total
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     1     enough heroin probably to result in as many as 150

     2     retail sales that day, as many as 150 retail sales that

     3     day, and so it certainly is indicative of Mr. Rasberry

     4     being engaged in major league drug dealing.

     5            As reflected in Paragraph 22 of the revised

     6     presentence investigation report, this was by no means

     7     an isolated incident but was, rather, part of

     8     Mr. Rasberry's role as a leader or organizer of a drug

     9     trafficking organization that operated in southern

    10     Maine.     We had individuals who were traveling outside

    11     of the state, bringing back heroin, sometimes hidden in

    12     their bodies.       There were multiple houses involved,

    13     known as trap houses, from which drug sales were

    14     organized.      There were several people involved, at

    15     least five or more, who had different roles.                  And all

    16     the information that I've received would suggest that

    17     Mr. Rasberry was at the top of the pyramid and that

    18     this activity went on for a period of months, at least.

    19            And so the related relevant conduct in this case

    20     really paints a portrait of a very serious, ongoing

    21     criminal enterprise, which would have resulted in the

    22     distribution of very large quantities of primarily

    23     heroin on a daily basis, possibly, certainly weekly

    24     basis, in this community.           And so as is really

    25     acknowledged I think by all, there's no question,
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     1     Mr. Rasberry, the crime here is quite serious.                  And any

     2     sentence that is imposed has to reflect the seriousness

     3     of the conduct that you engaged in.

     4            This conduct, of course, is consistent with

     5     Mr. Rasberry's history.          He has two -- he had two prior

     6     drug convictions and has no legitimate employment

     7     history to speak of.         And so the information contained

     8     in the revised presentence investigation report in this

     9     case does in fact paint the fact that Mr. Rasberry has

    10     led a life of crime during his adult years.                 And the

    11     sentence in this case has to reflect the fact that the

    12     public should be protected from any further crimes like

    13     this by him.

    14            Now, in considering Mr. Rasberry's personal

    15     history and characteristics, it's really fair to

    16     describe his childhood as heartbreaking.                It was a

    17     childhood marked by severe abuse and neglect, abandoned

    18     by a father as an infant, sexually abused as a young

    19     child, raised by a drug-addicted mother, who

    20     essentially left him to raise himself, and being

    21     introduced to the streets and drug use and alcohol at a

    22     very early age.       Mr. Rasberry has gone through life

    23     with an untreated mental health condition, and has

    24     abused alcohol and Cannibis and possibly other drugs.

    25     And I think one can logically conclude that it was at
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     1     least in part a matter of self-medication.                 There were

     2     times he did make attempts at drug treatment, to his

     3     credit; none were successful.

     4            In addition, I think it's important that the

     5     sentence in this case reflect also that Mr. Rasberry

     6     has for a fairly extended period accepted the

     7     responsibility of a household.            The other drug

     8     offenders, leaders of drug operations who I've seen in

     9     court, largely don't have families for which they've

    10     accepted responsibility and have earned the love and

    11     trust of children.        That's not part of that mix.             But

    12     it happens to be in this case, which makes

    13     Mr. Rasberry's case in that respect unique.                 I take as

    14     sincere what his fiancée and stepson say about him, as

    15     well as what is described in the letters about the role

    16     that he's played in that household.              It shows that he's

    17     capable of loving and being -- and receiving love and

    18     cares about people.

    19            And so although it's not ever possible for any

    20     judge to be able to forecast the degree to which any

    21     particular defendant truly is amenable to

    22     rehabilitation after a lengthy prison sentence, there

    23     are kernels of evidence here to suggest it's possible

    24     with Mr. Rasberry.

    25            And I would add to that his performance since he's
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     1     been incarcerated.        He has been incarcerated for a

     2     fairly lengthy period already.            Every indication that I

     3     have is that he has performed admirably and has taken

     4     advantage of the services that were offered to him in

     5     the jail.      And that bodes well for what he might do

     6     while he's incarcerated in the Bureau of Prisons.

     7            There was a co-defendant in this case whose name

     8     has been mentioned, Julie Wilson, who received a

     9     sentence of time served.          I think it's important to

    10     note that Ms. Wilson's crime was significantly less

    11     serious than Todd Rasberry's, with an offense category

    12     number of 13 and a criminal history category of II.                     In

    13     the scheme of this crime Ms. Wilson was a runner.                   She

    14     was a drug addict who was delivering drugs at the

    15     direction of others and specifically at the direction

    16     of Mr. Rasberry.        And so at least for purposes of

    17     giving thought to the possibility of the need to avoid

    18     unwarranted differences in sentencing and disparities

    19     in sentencing, that's not of concern here.                 Ms. Wilson

    20     was -- is quite a different offender than Mr. Rasberry

    21     with quite a different history who played quite a

    22     different role than he did in this offense.

    23            And so I'm left to make sense of the need on the

    24     one hand for this sentence to be sufficiently harsh to

    25     reflect the seriousness of the conduct that's involved,
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     1     to deter Mr. Rasberry, who's already had prison

     2     sentences under his belt and has come out and continued

     3     to offend, to afford adequate deterrence to the

     4     community of people that are aware of him and of this

     5     case and are undoubtedly paying attention to see what

     6     happens to him, and also to protect the public from

     7     further crimes by Mr. Rasberry.            I think that if he

     8     were to simply go back into -- go back into public life

     9     in a relatively short period of time there is I think a

    10     very high risk of reoffense.           But on the other hand, to

    11     also account for what I see as indicators of the

    12     possibility of rehabilitation, to receive treatment for

    13     his mental health condition, to receive vocational

    14     training so that he has a means of making a legitimate

    15     living, of giving him a sentence which is not so long

    16     as to disincentivize him from trying to heal himself so

    17     that he can get back to his family.

    18            Mr. Rasberry is in his 30s now, and it seems to me

    19     it does matter what age he gets out of prison relative

    20     to where his younger son will be in life for him to

    21     still have a chance at playing a meaningful role as a

    22     parent.     And so I've tried to balance those

    23     considerations primarily in arriving at a sentence in

    24     this case.      And with that as an explanation, I'd like

    25     you to stand, Mr. Rasberry.
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     1            I've concluded that a just and fair sentence in

     2     this case, one that is sufficient but not greater than

     3     that needed to accomplish the purposes that I have just

     4     described, is as follows:

     5            I'm ordering you committed to the custody of the

     6     U.S. Bureau of Prisons for a total term of 138 months,

     7     the equivalent of 11-1/2 years.            I am going to

     8     recommend to the Bureau of Prisons that you be housed

     9     in Devens or Berlin for purposes of being as close to

    10     your family as possible and also that you be considered

    11     for participation in the RDAP program.                  You are

    12     remanded to the custody of the U.S. Marshal in

    13     furtherance of the sentence at the conclusion of this

    14     hearing.

    15            I'm imposing a term of supervised release of three

    16     years.     You are to report to the district in which you

    17     are released within 72 hours.            You're not to commit

    18     another federal, state, or local crime.                  You're not to

    19     illegally possess a controlled substance.                  You are to

    20     cooperate in the collection of DNA, and you are not to

    21     possess a firearm, ammunition, destructive device or

    22     any other dangerous weapon at any time.                  Do you

    23     understand?

    24                 THE DEFENDANT:       Yes, Your Honor.

    25                 THE COURT:      I'm imposing this district 's
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     1     standard conditions of supervised release.                 Attorney

     2     Maselli, did you review those with your client?

     3                 MR. MASELLI:      Yes, I did, Your Honor.

     4                 THE COURT:      Are you satisfied that he

     5     understands them?

     6                 MR. MASELLI:      Yes, Your Honor.

     7                 THE COURT:      And, Mr. Rasberry, is that

     8     correct, you do understand the standard conditions of

     9     release?

    10                 THE DEFENDANT:       Yes, Your Honor.

    11                 THE COURT:      I'm also imposing the following

    12     special conditions of supervised release:

    13            First, you are to participate in mental health

    14     treatment as directed by your officer until released

    15     from the program by the officer.             You are to pay or

    16     copay for services during the treatment to the

    17     officer's satisfaction.          Do you understand?

    18                 THE DEFENDANT:       Yes, Your Honor.

    19                 THE COURT:      Secondly, you are to participate

    20     in work force development programs and services as

    21     directed, and if not employed perform up to 20 hours of

    22     community service per week.           Work force development

    23     programming may include assessment, testing,

    24     educational instruction, training classes, career

    25     guidance, and job search and retention services.                   Do
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     1     you understand?

     2                 THE DEFENDANT:       Yes, Your Honor.

     3                 THE COURT:      Third, I'm ordering that you not

     4     use or possess any controlled substance, alcohol, or

     5     other intoxicant, and you participate in a program of

     6     drug and alcohol abuse therapy to the supervising

     7     officer's satisfaction.          This will include testing, one

     8     test within 15 days of release and at least two but not

     9     more than 120 per year thereafter.             You are to pay or

    10     copay for services.         You're not to obstruct or tamper

    11     in any way with any tests.           Do you understand?

    12                 THE DEFENDANT:       Yes, Your Honor.

    13                 THE COURT:      Fourth, a U.S. Probation Officer

    14     may conduct a search of you and of anything you own,

    15     use, or possess if the officer reasonably suspects that

    16     you have violated a condition of supervised release and

    17     reasonably suspects that evidence of the violation will

    18     be found in the areas to be searched.              Searches must be

    19     conducted at a reasonable time and in a reasonable

    20     manner.     Failure to submit to a search may be grounds

    21     for revocation of release.           Do you understand,

    22     Mr. Rasberry?

    23                 THE DEFENDANT:       Yes, Your Honor.

    24                 THE COURT:      Mr. Maselli, are there any

    25     objections to any of the special conditions that I've
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     1     just announced?

     2                 MR. MASELLI:      No, Your Honor.

     3                 THE COURT:      I do find that these conditions

     4     are essential, given Mr. Rasberry's history of having a

     5     serious mental health diagnosis without treatment, his

     6     need to develop a legitimate means to support himself

     7     and his family, the fact that Mr. Rasberry has an

     8     untreated substance abuse problem, and so all those

     9     conditions will assist in addressing those issues.

    10            I am imposing a special assessment of a hundred

    11     dollars.     I find that Mr. Rasberry does not have the

    12     means to pay a fine and so I am not ordering a fine.

    13            Counsel, before I advise Mr. Rasberry of his

    14     rights of appeal, are there any issues regarding

    15     sentencing that I have not addressed?

    16                 MR. GUERRETTE:       Not from the Government, Your

    17     Honor, no.

    18                 THE COURT:      Mr. Maselli?

    19                 MR. MASELLI:      No, Your Honor.

    20                 THE COURT:      Mr. Rasberry, you have the right

    21     of appeal, and to exercise that right to appeal from

    22     your conviction and/or the sentence you must file with

    23     the clerk of court within 14 days of today a written

    24     notice of appeal.        Do you understand?

    25                 THE DEFENDANT:       Yes, Your Honor.
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     1                 THE COURT:      If you fail to timely file the

     2     written notice of appeal, you will have given up your

     3     right to appeal this sentence and conviction.                  Do you

     4     understand?

     5                 THE DEFENDANT:       Yes, Your Honor.

     6                 THE COURT:      If you cannot afford to file the

     7     appeal, you can appeal without cost.              The clerk's

     8     office will prepared and file it for you at your

     9     request without cost; again, you have to request that

    10     within 14 days.       Do you understand?

    11                 THE DEFENDANT:       Yes, Your Honor.

    12                 THE COURT:      Mr. Rasberry, it's very possible

    13     you will not agree with my characterization of the

    14     sentence given just -- looking just at your criminal

    15     conduct as relatively light.           But I believe it is.             I

    16     have tried to sincerely take into consideration what I

    17     see as the positive things that you might have going

    18     for you, and I don't expect that you -- and you don't

    19     need to agree with me, but I want you to know that that

    20     was my assessment.

    21            Now, you're here today with your family, who

    22     speaks so highly of you, including in the courtroom

    23     today your young son.         The way that you've lived your

    24     life up until now will not be tolerated, cannot be

    25     tolerated, by your family or by society.                And it will
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     1     take a significant period of time for you to turn

     2     yourself around.        So I ask you, really implore you, to

     3     do everything you can while you're incarcerated to

     4     reform yourself.        You're still a relatively young

     5     person, you'll come out in middle age, you'll still

     6     have a life ahead of you, and you've got a family that

     7     cares about you.        Don't waste your time.          Take

     8     advantage of everything that is offered to you to bring

     9     out the best in yourself.

    10            Now, in my view the most important thing is that

    11     your son today is six.          If you do well while you're in

    12     prison you'll come out and he'll still be a kid, he'll

    13     still be a teenager, at least.            He's here today.         Who

    14     knows what he's making of this.            But it's a big part of

    15     his life and it will always be a big part of his life,

    16     this experience.        And really the question is what's he

    17     going to take from this.          And I want to suggest to you

    18     that you're the one that's now responsible for deciding

    19     what he's going to take from this.

    20            If you come out of prison after all this and don't

    21     live a decent life, one can only imagine what that will

    22     mean to him and what effect it might have on him when

    23     he's a man your age.         And if you come out of prison and

    24     you make something of yourself and you're law abiding,

    25     and he sees that with all you went through you have
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     1     transformed yourself, that powerful message will be

     2     with him the rest of his life.

     3            So in my view your most important responsibility

     4     going forward now is as a role model to him.                  People

     5     have the means to change themselves and to rehabilitate

     6     themselves.      It is doable.       And you can do it if you

     7     want, but I really encourage you to think about him.

     8     This is your opportunity to do something very powerful

     9     and good for him.        So I wish you success.

    10            Counsel, anything further?

    11                 MR. GUERRETTE:       No, Your Honor.

    12                 MR. MASELLI:      No, Your Honor, thank you.

    13                 THE COURT:      Attorney Guerrette, there are two

    14     other counts in the indictment.            They are to be

    15     dismissed; is that correct?

    16                 MR. GUERRETTE:       Yes.

    17                 THE COURT:      And so the Government's moving to

    18     that effect?

    19                 MR. GUERRETTE:       Yes, Your Honor.

    20                 THE COURT:      And I take it there's no

    21     objection?

    22                 MR. MASELLI:      No objection, Your Honor.

    23                 THE COURT:      The two remaining counts are

    24     ordered dismissed.        Thank you, Court will be in recess.

    25                         (Time noted:        12:00 p.m.)
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     2                         C E R T I F I C A T I O N

     3     I, Lori D. Dunbar, Registered Merit Reporter, Certified

     4     Realtime Reporter, and Official Court Reporter for the

     5     United States District Court, District of Maine,

     6     certify that the foregoing is a correct transcript from

     7     the record of proceedings in the above-entitled matter.

     8     Dated:     February 24, 2017

     9                   /s/ Lori D. Dunbar

    10                   Official Court Reporter

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